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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                         §
     Plaintiff/Respondent,                        §
                                                  §
v.                                                §            Cr. No. C-05-346 (15)
                                                  §
FAVIAN CANTU ROSALEZ,                             §
     Defendant/Movant.                            §

           ORDER DENYING LETTER MOTION FOR REDUCED SENTENCE

       By Orders entered September 12, 2007 (D.E. 523) and October 4, 2007 (D.E. 525), this Court

has now twice denied letter requests from Defendant Favian Cantu Rosalez for a reduced sentence

or modification of his sentence. On November 19, 2007, the Clerk received yet another request from

Rosalez for “post-conviction relief” in the form of a reduced sentence or being permitted to serve

the remainder of his sentence on home confinement. (D.E. 526.) He cites the same reasons for his

request that he set forth in his previous two motions. (Compare D.E. 520, 524 with 526.)

       For the same reasons previously cited by the Court (see D.E. 523, 525), Rosalez’s latest

filing, docketed as a request for post-conviction relief (D.E. 526), is DENIED. Additionally,

Rosalez is advised that if he continues to file repetitive motions with this Court, he may be

sanctioned by the Court in the form of a fine or restrictions on his ability to file motions.


       It is so ORDERED this 12th day of December, 2007.



                                               ____________________________________
                                                           Janis Graham Jack
                                                       United States District Judge
